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                  EXHIBIT B

{01337678}
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  SUPRFME COURT OF THE STATE OF NEW YORK
  COUN TY OF BRONX
             -   -                                            X
  MANNAN HASSAN,
                                                                   Index No.: 21100/19E
                                             Plaintiff,

                            -against-                              VERIFIED BILL OF
                                                                   PARTICULARS


  BLESSED CARRIERS,INC. & LIM PICA,

                                             Defendants.
  —              -                                            X



         PLEASE TAKE NOTICE,that plaintiff, MANNAN HASSAN,by his attorney,

  Timothy M.Sullivan, as and for his Verified Bill of Particulars in response to the demands of
  defendants, BLESSED CARRIERS,INC., sets forth as follows:

         1.          Plaintiff resides at 138-29 102"^^ Avenue, Apt. FIT, Jamaica, New York 11435.

         2.          The incident complained of herein occurred on July 14, 2017 at

  approximately 1:00 p.m.

         3.          The incident complained of herein occurred on the Cross Bronx Expressway at or

  near its intersection with Havameyer Avenue,in the County of Bronx, State of New York.

         4.          That on the        day of July 2017,Plaintiffs vehicle was struck by Defendant's

  vehicle.


         5.          The defendants were reckless, careless, and negligent in failing to keep their

  motor vehicle under proper ownership, management, meuntenance, repair, service, inspection,
  operation and control; in failing to observe conditions on the roadway and to have a due, timely,
  adequate and proper lookout; in failing to give any notice, warning or signal of approach; in
  failing to see that in the roadway which should have been seen; in operating said vehicle at an
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  excessive rate of speed inconsistent with the exercise of reasonable and due care under the

  conditions and circumstances existing immediately prior to and at the time of the occurrence; in

  failing to make adequate, proper and timely use of the brakes; in failing to keep said motor

  vehicle at a reasonable and sufficient distance away from plaintiff so as to bring it to a stop in

  sufficient time to avoid striking plaintiff; in failing to yield the right of way and obey and comply

  with the applicable rules of the road; in violating all applicable laws, statutes, rules, regulations,
 codes and ordinances, then and there existing at the time and place ofthe occurrence complained

  of; in failing to operate said motor vehicle with that degree of care and caution necessary under
  the circumstances; in failing to act in such a manner so as to avoid the accident complained of
  herein. The above stated occurrence and the results thereof, were in no way due to any

  negligence on the part of plaintiff, but were caused solely and wholly by the negligence of
  defendants.


          6.      Not applicable.

          7.      Not applicable.

          8.      Not applicable.

          9-10. As a result of defendants' recklessness, carelessness,

  and negligence, plaintiff sustained serious and permanent personal injuries, including but not
  limited to the following:

                           - Supraspinatus and inffaspinatus tendinosis ofthe left shoulder;

                           - Acromion has a lateral downslope of the left shoulder;

                           - Left shoulder sprains/strains;

                           - C4/C5 disc hemiation with anterior thecal sac impingement;

                           - C5/C6 disc hemiation with anterior thecal sac impingement;
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                          - C6/C7 disc bulge with anterior thecal sac impingement;

                          - Straightening of the cervical lordosis indicative of muscle spasm;

                          - Cervical spine sprains/strains;

                          - L4/5 disc bulge and left foraminal herniation;

                          - Straightening of the normal lordosis indicative of muscle spasm;

                          - Lumbar spine sprains/strains;



         Said injuries have directly and indirectly adversely affected the nerves, tissues, blood
  vessels, blood supply, muscles, ligaments, cartilages, tendons, bones, and soft parts in and about
  the sites of the above described areas of injury, including the central nervous system, digestive

  system, muscular system, and skeletal system shock to the nervous system. Plaintiffs have
  required, continue to require and will require for an indefinite period of future duration, repeated
  continuous medical care and monitoring, utilization of medical support equipment, medication,

  confinement and various modalities oftherapy.

          The injuries, manifestations and sequella are permanent and chronic. Additionally, with
  advancing years there will be naturally and medically related complications and exacerbations,
  including but not limited to arthritis. There will be further psychological and somatic overlay
  with resultant disabilities.

          Upon information and belief, there will also be physical and psychosomatic degeneration
  resulting from the continuation ofthe underlying conditions, the manifestations and sequella.
          In order to negate the needless duplication, plaintiff incorporates by reference the hospital
  records and physicians' reports served in conjimction with the medical exchange rules insofar as
  to the contents thereof are admissible in evidence at the trial of this action.
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            Plaintiffs will introduce upon the trial herein, testimony and proof in conjunction with all

  of the injuries, conditions, manifestations, sequella, and residuals which will be permanent to the

  extent medically ascertainable at the time of trial and plaintiff reserves the right to adduce proof

  with respect thereto at the time of trial. The aforementioned injuries are permanent in nature and

  effect.


            Upon information and belief, plaintiffs injuries are continuing in nature and plaintiff

  respectfully reserves the right to allege other and further injuries if and when same become

  known for medical records or reports indicating further injuries not included in the foregoing

  response.


            11.    Not applicable.

            12.    Not applicable.

            13.    Plaintiff was treated by the following medical providers, Physical Medicine and

  Rehabilitation of New York 95-20 Queens Boulevard, Rego Park, New York 11374, Emmanuel

  Hostin, M.D. 369 Lexington Avenue, 8"" Floor, New York, New York 10017 and Lenox Hill

  Radiology 80-02 Kew Gardens Road, Suite LI,Kew Gai'dens, New York 11415.

            14.    Not applicable.

            15.    Not applicable.

            16.    Plaintiff was partially disabled from the date ofthe accident to the present.

            17.    Plaintiffs special damages have been paid for through the applicable no-fault

  insurance carrier. Annexed hereto is a duly executed authorization for the release of plaintiffs

  entire no-fault file with special damages information.

            18.    Plaintiffs date of birth is January 26, 1990.

            19.    Defendants violated each and every applicable law, statute, rule, regulation, code
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  and ordinance, then and there in effect and existing at the place and time of the subject

  occurrence, including, but not limited to, New York State Vehicle and Traffic Law Sections

  1100, 1101, 1102, 1104, 1110. 1111, 1111(a), Iin(d), 1112, 1113, 1116, 1120, 1121, 1122,

  1123, 1124, 1125, 1126, 1127, 1128, 1129, 1130, 1131, 1140, 1141, 1142, 1143, 1144, 1145,

  1146, 1151, 1151(a), 1160, 1161, 1162, 1164, 1165, 1166, 1170, 1172, 1173, 1174, 1175, 1180,

  1180(a), 1181 and 1190; New York City Traffic Rules and Regulations Sections 30, 31, 41,43,

 50,51,60, 70,71,72, 73,74, 76, 77, 80,81,82, 83,84, 85, 86,94, 103, 105, 110, 111, 140, 144

 and 157; New York City Department of Transportation Sections 4-02, 4-03, 4-04,4-05, 4-06,4-

 07 and 4-08. In addition, plaintiff will ask the Court at the time of trial of this action to take

 judicial notice of each and every applicable law, statute, rule, regulation, code and ordinance

 violated by defendants herein. Those additional ordinances, regulations and statutes violated by

 defendants herein are left to be determined by the Trial Court and will be judicially noted at the

 time of trial. See Souveran Fabrics Corp. v. Virginia Fibre Corporation. 32 A.D.2d 753, 301

 N.Y.S.2d 273 (1st Dept. 1969); Kirkeby-Natus Corporation v. Gevinson,33 A.D.2d 883, 307

 N.Y.S.2d 586(4th Dept. 1969); Meyer v. Triboro Coach Corporation,66 N.Y.S.2d 494(Queens

  County, 1946).

         20.     Not applicable.

         21.     Not applicable.

         22.     Not applicable.

         23.     Not applicable.

         24.     Plaintiffs Social Security number is XXX-XX-2005.

         25.     Not applicable.

         26.     Not applicable.
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         27.     Objection. Improper demand.

         28.     Not applicable.



         Plaintiff hereby reserves his right to supplement this response herein, up to and including

  the time of trial in accordance with the applicable provisions of the CPLR.

  Dated: New York, New York
         June 3, 2019




                                               THE SULLIVAN<AW FIRM

                                       By:
                                                Timolhy M. Sullivan, Esq.
                                               Attorneys for Plaintiff
                                               217 Broadway, Suite 500
                                               New York, New York 10007
                                               (212)566-8860


  TO:    MORGAN MELHUISH ABRUTYN
         Attorneys for Defendants
         BLESSED CARRIERS,INC.
         39 Broadway, 17^ Floor
         New York, New York 10006
         (212) 809-1111
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                                          VERIFICATION




  STATE OF NEW YORK                             }
                                                }       SS:
  COUNTY OF NEW YORK                            }


         TIMOTHY M. SULLIVAN,ESQ., being duly sworn, deposes and says:



         1 am attorney for plaintiff in the within action, I have read the foregoing bill of
  particulars and know the contents thereof, and upon information and belief, I believe the matters
  alleged therein to be true.



         The reason this verification is made by me and not by plaintiff is that the plaintiff resides

  in a county other than the one in which deponent's law firm maintains its offices.


         The source of my information and the grounds of my belief are communications, papers,

  reports and investigations contained in my file.




                                                        Timothy M.Sullivan, Esq.
